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                       IN THE UNITED STATES DISTRICT COURT
                       FOR THE DISTRICT OF SOUTH CAROLINA
                               CHARLESTON DIVISION

                                              )
IN RE: AQUEOUS FILM-FORMING                   )   MDL No. 2:18-mn-2873-RMG
FOAMS PRODUCTS LIABILITY                      )
LITIGATION                                    )   CASE MANAGEMENT ORDER NO. 26.B
                                              )
                                              )   This Order Relates to All Actions
                                              )

               AMENDMENTS TO SECOND BELLWETHER PROGRAM:
                     INITIAL PERSONAL INJURY CLAIMS

       This CMO 26B amends the schedule set forth in CMOs 26 and 26A with respect to the

selection of the Initial Personal Injury Bellwether Discovery Pool Plaintiffs. Specifically, the

following provisions of CMO 26 and 26A are hereby superseded as follows:

       B.      Selection of Initial Personal Injury Bellwether Discovery Pool Plaintiffs

               6.      By no later than December 11, 2023, the Parties shall jointly submit to the

       Court a list with each selected or proposed case, including the following information: (1)

       Plaintiff’s counsel information, (2) list of all defendants in the case (and counsel

       information), (3) a certification that all parties have waived Lexecon rights, 2 (4) a brief

       summary of the alleged injury(ies) and site(s) from which exposure occurred, (5) ECF

       references to the proposed Bellwether Plaintiff’s operative Complaint and relevant

       Defendants’ statements of affirmative defenses, and (6) if a plaintiff is not agreed, a brief

       explanation for why the proponent contends that plaintiff is representative and why the

       opponent contends that plaintiff is not representative. The Court shall select the 28 Initial




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  For the avoidance of doubt, if a party waives Lexecon as to a specific case in the Initial Personal
Injury Discovery Bellwether Pool, such waiver will not apply to any other case in the MDL.
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      Personal Injury Bellwether Discovery Pool Plaintiffs from this submission, and these

      Plaintiffs shall be subject to the provisions of Paragraphs B.4–5 above.

      C.     Further Proceedings With Regard to Personal Injury Cases

             1.      The Parties shall meet and confer regarding Tier 1 Discovery and will

      submit either an agreed Tier 1 Discovery CMO or a proposed Tier 1 Discovery CMO with

      identified disputes to the Court on or before December 11, 2023.



IT IS SO ORDERED.


Dated: December 4, 2023                                    s/Richard M. Gergel
      Charleston, South Carolina                           Hon. Richard M. Gergel
                                                           United States District Judge




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